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 7

 8
                                  UNITED STATES DISTRICT COURT
 9
                                  EASTERN DISTRICT OF CALIFORNIA
10

11                                               )
      UNITED STATES OF AMERICA,                          CASE NO. 2:15-cr-00235-TLN
12
                                                 )
                     Plaintiff,                  )       STIPULATION REGARDING
13                                               )       EXCLUDABLE TIME PERIODS
             v.                                  )
14                                                       UNDER SPEEDY TRIAL ACT;
                                                 )       FINDINGS AND ORDER
15    DUMITRU MARTIN,                            )
                                                 )       Date: April 7, 2016
16                Defendant.                     )       Time: 9:30 AM
      ________________________________           )
17

18          With the Court’s permission, defendant Dumitru Martin and plaintiff United States of
19   America, by and through their undersigned attorneys, hereby stipulate as follows:
20          1.     By previous order, this matter was set for status on April 7, 2016;
21          2.     By this stipulation, defendant now moves to continue the status conference
22                 until April 14, 2016 and to exclude time between April 7, 2016 and April 14,
23                 2016 under local code T4. Plaintiff does not oppose this request.
24          3.     The parties agree and stipulate that the Court find that counsel for the
25                 defendant requires additional time to review the current charges, to review the
26                 extensive discovery, to conduct investigation and research related to the
27                 charges and to prepare to discuss the matter with his client.
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 1         4.    The government does not object to the continuance.
 2         5.    Based on the above-stated findings, the ends of justice served by continuing
 3               the case as requested outweigh the interest of the public and the defendant in a
 4               trial within the original date prescribed under the Speedy Trial Act.
 5         6.    For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §
 6               3161, et seq., within which the trial date must commence, the time period of
 7               April 7, 2016 to April 14, 2016, inclusive, is deemed excludable pursuant to
 8               18 U.S.C. § 3161(h)(7)(A), (B)(iv) and Local Code T4 because it results from
 9               a continuance granted by the Court at defendant’s request on the basis of the
10               Court’s finding that the ends of justice served by taking such action outweigh
11               the best interest of the public and the defendant in a speedy trial.
12         7.    Nothing in this stipulation and order shall preclude a finding that other
13               provisions of the Speedy Trial Act dictate that additional time periods are
14               excludable from the period within which a trial must commence.
15

16   IT IS SO STIPULATED:
17                                              /s/ William J. Portanova
     DATED: April 6, 2016                       _______________________________________
18
                                                WILLIAM J. PORTANOVA
19                                              Attorney for Defendant Dumitru Martin

20
     DATED: April 6, 2016                       /s/ Michael M. Beckwith
21
                                                _______________________________________
22                                              MICHAEL M. BECKWITH
                                                Assistant United States Attorney
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24
     IT IS SO FOUND AND ORDERED.
25
     DATED: April 6, 2016
26
                                                           Troy L. Nunley
27                                                         United States District Judge
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